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                                                           U.S. v. [5] Jose Garcia-Lopez, 19-121 (SCC)




                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

  UNITED STATES OF AMERICA,                        CRIMINAL NO. 19-121 (SCC)
  Plaintiff,

                        V.




  [5] JOSE L. GARCIA-LOPEZ, A/K/A
                                                                     ^^\
                                                                     ^ '^^                               M

  (<LOS GEMELOS,"                                                    '^^ - ^
  Defendant.                                                          ^^%^c.,/
                                                                      ^^ "d^c0^ ^
                                                                                      • Pff"7/\ ^
                                                                            tf 7 . ',-- ^-
                                                                               -"5 Q -C ^



                   PLEA AND FORFEITURE AGREEMENT

TO THE HONORABLE COURT:

       The United States of America, Defendant, [5] JOSE L. GARCIA-LOPEZ,

A/K/A "LOS GEMELOS" and Defendant's counsel, Linda George, Esq., pursuant


to Federal Rule of Criminal Procedure 11, state that they have reached a Plea


Agreement, the terms and conditions of which are as foUows:


   1. Charges to which Defendant will Plead Guilty

      Defendant agrees to plead guilty to Counts One and Sbc of the Indictment:

       Count One: of the Indictment charges that from m or about the year 2006, and


contmuing up to and until the return of the instant Indictment, in the Municipality of


San Juan, District of Puerto Rico and within the jurisdiction of this Court, [5] JOSE

L. GARCIA-LOPEZ, A/K/A "LOS GEMELOS" and other -persons, did

knowingly and intentionally, combine, conspire, and agree with each other and with

diverse other persons known and unknown to the Grand Jury, to commit an ofFense
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          against the United States, that is, to knowingly and intentionally possess with mtent


          to distribute and/or to distribute controlled substances, to wit: in excess of two


          hundred and eighty (280) grams of a mucture or substance containing a detectable


          amount of cocaine base (crack), a Schedule II Narcotic Drug Controlled Substance; in


          excess of one (1) kilogram of a mbcture or substance containing a detectable amount

          of heroin, a Schedule I, Narcotic Drug Controlled Substance; in excess of five (5)


          kilograms of a mixture or substance containmg a detectable amount of cocaine, a


          Schedule II, Narcotic Drug Controlled Substance; in excess of one hundred (100)

          kilograms of a mbcture or substance containmg a detectable amount of marijuana, a


          Schedule I, Controlled Substance; a mbcture or substance containing a detectable


          amount of Oxycodone (commonly known as Percocet), a Schedule II Controlled


^ Substance; and a mixture or substance containing a detectable amount ofAlprazolam


          (commonly known as Xanax), a Schedule IV Controlled Substance; within one


          thousand (1,000) feet of a real property comprising the Villa Kennedy Public Housing

    (( .. Project, Las Casas Public Housing Project, El Mirador Public Housing Project, Las
    ^.^

          Margaritas Public Housing Project, housing facilities owned by a public housing

          authority and within one thousand (1,000) feet of a real property comprising a public

          or private school and/or playground. All in violation of Title 21, United States Code

          Sections 841(a)(l), 846 and 860.

                Count Six: of the Indictment charges that from in or about the year 2006, and


          continuing up to and until the return of the instant Indictment, in the Municipality of
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San Juan, District of Puerto Rico and within the jurisdiction of this Court, [5] JOSE

L. GARCIA-LOPEZ, A/K/A (<LOS GEMELOS" together with others charged in

Count Six, did knowingly and unlawfully possess firearms, of unknown make and


caliber, as that term is defmed in Title 18, United States Code, Section 921(a)(3), in

furtherance of a drug trafficking crime for which they may be prosecuted in a Court of


the United States, as charged in Counts One (1) through Five (5) of the mstant

Indictment. All in violation of Title 18, United States Code, § 924(c)(l)(A).

   2. Maximum Penalties


       Count One: The penalty for the offense charged in Count One of the Indictment is


a term of imprisonment which shall not be less than ten (10) years and up to two (2) terms


of life, a fine not to exceed twenty million dollars ($20,000,000.00) and a term of


supervised release of not less than ten (10) years in addition to any term of incarceration,


pursuant to Title 21, United States Code, §§ 841(b)(l)(A), 846, and 860.

       However, based on the stipulated and agreed amount of narcotics possessed by

the defendant, that is, at least 2 kilograms but less than 3.5 kilograms of cocaine, the


defendant faces a minimum term of imprisonment of five (5) years up to a maximum


term of eighty (80) years, a fine not to exceed ten million dollars ($10,000,000.00), and

a term of supervised release of at least .eight (8) years in addition to any term of


incarceration, pursuant to Title 21, United States Code, 841(b)(l)(C), 846, and 860.

       Count Six: The stahitory penalty for the offense charged in Count Six of the


Indictment, is a term of imprisonment of not less than 5 years nor more than life in
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              prison pursuant to 18 U.S.C. § 924(c); a fme not to exceed $250,000; and a supervised


              release term of not more than five years, pursuant to 18 U.S.C. § 3583(b)(l).


                 3. Sentencing Guidelines Applicability

                    Defendant understands that the sentence will be imposed by the Court in


              accordance with 18 U.S.C. § § 3551-86, and the United States Sentencing Guidelines


              (heremafter "Guidelmes"), which are advisory pursuant to the United States Supreme


              Court decision in United States v. Booker, 543 U.S. 220 (2005). Further, Defendant


              acknowledges that parole has been abolished, and that the imposition of Defendant's


              sentence may not be suspended.


                 4. Special Monetary Assessment


                    Defendant agrees to pay a special monetary assessment ("SMA") of one
^\r"~v
              hundred dollars ($100.00) per count of conviction. The SMA will be deposited in the
    '^


              Crime Victim Fund, pursuant to 18 U.S.C. § 3013 (a)(2)(A).

                 5. Fines and Restitution


                    The Court may, pursuant to Section 5E 1.2 of the Guidelines order Defendant
         \"
              to pay a fine. The Court may also impose restitution. Defendant agrees to execute


              and make available, prior to sentencing, a standardized fmancial statement (OBD


              Form 500). The-.Onited States wiU advocate on behalf of any identified victim and


              comply with its obligations under the Mandatory Victim Restitution Act of 1996.

               ' 6. Sentence to be Determined by the Court



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            Defendant understands that the sentence to be imposed will be determined


     solely by the United States District Judge. The United States cannot make and has not


     made any promise or representation as to what sentence Defendant wUl receive. Any


     discussions that the parties might have had about possible sentences are not binding in


     any way on the Court, and do not constitute representations about what the parties

     will seek, or what the actual sentence will be.


        7. Recommended Sentencing Guidelines Calculations


            After due consideration of the relevant factors enumerated in 18 U.S.C. §


     3553(a), the United States and Defendant submit that the advisory Guidelmes

     calculations listed below apply to Defendant. However, Defendant acknowledges that




Of
     the Court is not required to accept those recommended Guidelines calculations.


                      SENTENCING GUIDELINES CALCULATIONS
                                  COUNT ONE
                               21U.S.C. §§ 841(a)(l), 846 and 860
      Base Offense Level pursuant to U.S.S.G. § 2Dl.l(c)(7)
                                                                                         26
      Protected Location U.S.S.G. § 2D1.2(a)(l)
                                                                                         +2
      Leadership U.S.S.G. § 3Bl.l(b)
                                                                                         +3
 <
      Acceptance of Responsibility pursuant to U.S.S.G. §3E1.1
                                                                                          -3

      TOTAL ADJUSTED OFFENSE LEVEL
                                                                                         28
      CH Cat. I     CH Cat. II   CH Cat. Ill     CH Cat. IV     CH Cat. V             CH Cat. VI

         78-97        87-108        97-121         110-137        130-162                140-175


            As to Count Six, the United States and Defendant submit that pursuant to


     United States Sentencing Guidelmes § 2K2.4(b), a defendant that is convicted of

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           violating 18 U.S.C. § 924 (c)(l)(A), has a guideline sentence equal to the minimum

           term of imprisonment required by statute. In the present case, pursuant to 18 U.S.C.


           § 924(c)(l)(A)(i), there is a mmimum term of imprisonment of sixty (60) months.

              8. Sentence Recommendation


                 As to Count One, and after due consideration of the relevant factors enumerated


           in 18 U.S.C. § 3553(a), the parties agree to jointly recommend 84 of imprisonment.

           As to Count Sue, the parties agree to jointly recommend 60 months and that the two


           sentences run consecutively to one another. In other words, the parties will jointly

           recommend 144 months of incarceration for this case regardless of Defendant's


           criminal history category. The parties agree that any recommendation by either party


           for a term of imprisonment below or above the stipulated sentence recommendation

           will constitute a material breach of the Plea Agreement.


              9. No Stipulation as to Criminal History Category


                 The parties do not stipulate as to any Crimmal History Category for Defendant.
      *<




              10.Waiver of Appeal

                 Defendant knowingly and voluntarily agrees that, if the imprisonment sentence
r\
     N imposed by the Court is 144 months or less, Defendant waives the right to appeal any


           aspect of this case's judgment and sentence, including, but not limited to the term of


           imprisonment or probation, restitution, fines, forfeiture, and the term and conditions

           of supervised release.




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          11.No Further Adjustments or Departures


             The United States and Defendant agree that no further adjustments or


       departures to Defendant's total adjusted base offense level and no variant sentence


       under 18 U.S.C. § 3553—other than any explicitly provided for in this Plea


       Agreement—shaU be sought by Defendant. The parties agree that any request by


       Defendant for an adjustment or departure that is not explicitly provided for in this Plea

       Agreement will be considered a material breach of this Plea Agreement, and the


       United States will be free to ask for any sentence, either guideline or statutory.


          12. Satisfaction with Counsel


             Defendant is satisfied with counsel, Linda George, Esq., and asserts that


       counsel has rendered effective legal assistance.


          13.Rights Surrendered by Defendant Through Guilty Plea

             Defendant understands that by entering into this Plea Agreement, Defendant


       surrenders and waives certain rights as detailed m this agreement. Defendant


       understands that the rights of criminal defendants mclude the following:

vl a. If Defendant had persisted in a plea of not guilty to the charges,
                    Defendant would have had the right to a speedy jury trial with the
                    assistance of counsel. The trial may be conducted by a judge sitting
                    without a jury if Defendant, the United States and the judge agree.


                 b. If a jury trial is conducted, the jury would be composed of twelve lay
                     persons selected at random. Defendant and Defendant's attorney would
                    assist m selecting the jurors by removing prospective jurors for cause
                    where actual bias or other disqualification is shown, or by removing
                    prospective jurors without cause by exercising peremptory challenges.
                    The jury would have to agree, unanimously, before it could return a
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                verdict of either guilty or not guilty. The jury would be instructed that
                Defendant is presumed mnocent, that it could not convict Defendant
                unless, after hearing all the evidence, it was persuaded of Defendant's
                guilt beyond a reasonable doubt, and that it was to consider each charge
                separately.


             c. If a trial is held by the judge without a jury, the judge would find the facts
                and, after hearmg all the evidence and considering each count separately,
                determine whether or not the evidence established Defendant's guilt
                beyond a reasonable doubt.

             d. At a trial, the United States would be required to present its witnesses
                and other evidence against Defendant. Defendant would be able to
                confront those witnesses and Defendant's attorney would be able to
                cross-examine them. In turn, Defendant could present witnesses and
                other evidence on Defendant's own behalf. If the witnesses for Defendant
                would not appear voluntarily, Defendant could require their attendance
                through the subpoena power of the Court.


             e. At a trial, Defendant could rely on the privilege against self-incrimination
                 to decline to testify, and no inference of guilt could be drawn from
                Defendant's refusal to testify. If Defendant desired to do so, Defendant
                could testify on Defendant's own behalf.


      14. Stipulation of Facts

         The accompanying Stipulation of Facts signed by Defendant is hereby

^ incorporated mto this Plea Agreement. Defendant adopts the Stipulation of Facts and


   agrees that the facts therein are accurate in every respect. Defendant agrees and accepts


   that had the matter proceeded to trial, the United States would have proven those facts


   beyond a reasonable doubt.


      15. Limitations of PJea Agreement




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       This Plea Agreement binds only the United States Attorney's Office for the

District of Puerto Rico and Defendant. It does not bind any other federal district, state,


or local authorities.


    16. Entirety of Plea Agreement


       This written agreement constitutes the complete Plea Agreement between the


United States, Defendant, and Defendant's counsel. The United States has made no


promises or representations except as set forth in writing in this Plea Agreement and


denies the existence of any other terms and conditions not stated herein.


    17. Amendments to Plea Agreement


       No other promises, terms or conditions will be entered into between the parties


'unless they are in writmg and signed by aU parties.


    18.Dismissal of Remaining Counts


       At sentencing should there be any pendmg counts and should the Defendant


comply with the terms of this Plea Agreement, the United States will move to dismiss


the remainmg counts of the Indictment pending against Defendant in this case.


    19.Voluntarmess of Plea Agreement


       Defendant acknowledges that no threats have been made against Defendant and


that Defendant is pleading guilty freely and voluntarily because Defendant is guilty.

    20.Package Plea Provision


       Defendant is fuUy aware that this is a package plea agreement, that is, a Plea


Agreement conditioned upon the guilty plea of co-defendants [1] EMMANUEL
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                PACHECO-MARIN, [2] VLADIMIR NATERA-ABREU, [4] JESUS J. RIVERA-

                FIGUEROA, [6] LUIS A. GARCIA-LOPEZ, [7] ELVIN 0. CRUZ-VERGES

                and, from case 19-124, defendants [1] EDISON MERCED-OLIVERA and [2]

                WALDEMAR FEBRES-SANCHEZ.

                      Defendant certifies that Defendant is not entering into this guilty plea because


                of threats or pressures from any co-defendant, from any defendant in case 19-124 or

                from any other person or entity. Pursuant to United States v. Martinez-M'olina, 64 F.3d


                719 (1st Cir. 1995), package plea agreements require that the District Court be alerted

                to the fact that co-defendants are entering a package deal so that the District Court can


                carefuUy ascertain the voluntariness of each defendant's plea. The parties further agree

                that should any of the co-defendants or any defendant in case 19-124 withdraw the


                guilty plea, the United States reserves its right to withdraw from its obligations under
,.;;4-
   \ the package plea agreement in its entirety.
    \
                   21. Breach and Waiver


                      Defendant agrees that defendant will have breached this Plea Agreement if,


                after entering into this Plea Agreement, Defendant: (a) fails to perform or to fulfill
         ^...


                completely each and every one of Defendant's obligations under this Plea Agreement;


                (b) engages in any criminal activity prior to sentencing; or (c) attempts to withdraw

                Defendant's guilty plea. In the event of such a breach, the United States will be free


                from its obligation under this Plea Agreement and Defendant will not have the right

                to withdraw the guilty plea. Moreover, Defendant agrees that if Defendant is in
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      breach of the Plea Agreement, Defendant is deemed to have waived any objection to


      the reinstatement of any charges under the Indictment, Information, or complaint

      which may have previously been dismissed or which may have not been previously


      prosecuted.


         22.Potential Impact on Immigration Status


            Pursuant to Federal Rule of Criminal Procedure 1 l(b)(l)(0), Defendant hereby

      agrees and recognizes that if convicted, a Defendant who is not a United States citizen

      may be removed from the United States, denied citizenship, and denied admission to


      the United States in the future.


         23. Felony Conviction


            Defendant hereby agrees and recognizes that the plea of guilty in this case wiU


      be recognized as a felony conviction, which will result in the loss of certain rights,


      including but not limited to the right to vote in a federal election, to serve as a juror,



 r
      to hold public office, and to lawfully possess a firearm.

     v
     v; 24. Firearms and Ammunition Forfeiture


^ ) Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), Defendant agrees to

      forfeit Defendant's rights and interest in any firearms and ammunition involved or


      used in the commission of the offense.


         25. Forfeiture Provision


            Pursuant to this Plea Agreement, the defendant agrees to forfeit to the United


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           States any drug proceeds or substitute assets for that amount, which constitutes or is


           derived from proceeds generated or traceable to the drug trafficking offense in violation


           of 21 U.S.C. §§841, 846 and 860. Further, defendant shall forfeit to the United States

           any property constituting, or derived from, proceeds obtamed, du'ectly or indu'ectly,


           as a result of said violations and any property used, or intended to be used, in any


           manner or part, to commit, or to facilitate the commission of the said violations up to


           the amount stated above. The defendant agrees to identify all assets over which the


           defendant exercises or exercised control, directly or indirectly, within the past three

           years, or in which the defendant has or had during that time any fmancial mterest. The


           defendant agrees to take all steps as requested by the United States to obtain from any


           other parties by any lawful means any records of assets owned at any time by the

           defendant. Defendant agrees to forfeit to the United States aU of the defendant's


           mterests m any asset of a value of more than $1,000 that, within the last three years,

•\>-
^ the defendant owned, or in which the defendant maintained an interest, the ownership


           of which the defendant fails to disclose to the United States in accordance with this

           agreement.


                 The defendant further agrees to waive all interest in any such asset in any

           administrative or judicial forfeiture proceeding, whether criminal or civil, state or


           federal. The defendant agrees to consent to the entry of orders of forfeiture for such

           property and waives the requirements of Federal Rules of Criminal Procedure 32.2


           and 43 (a) regarding notice of the forfeiture in the chargmg instrument, announcement
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of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment.


Defendant acknowledges that he understands that the forfeiture of assets is part of the


sentence that may be imposed in this case and waives any failure by the court to advise


him of this, pursuant to Rule 1 l(b)(l)(J), at the time his guilty plea is accepted.

       The defendant further agrees to waive all statutory challenges in any manner


(includmg direct appeal, habeas corpus, or any other means) to any forfeiture carried


out in accordance with this Plea Agreement on any grounds, including that the


forfeiture constitutes an excessive fine or punishment. The defendant agrees to take aU

steps as requested by the United States to pass clear title to forfeitable assets to the


United States, and to testify truthfuUy in any judicial forfeiture proceeding. Defendant

acknowledges that all property covered by this agreement is subject to forfeiture as


proceeds of illegal conduct, givmg rise to forfeiture and/or substitute assets for


property otherwise subject to forfeiture.




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       Defendant, by agreeing to the forfeiture stated above, acknowledges that such


forfeiture in not grossly disproportional to the gravity of the offense conduct to which


defendant is pleadmg guilty. Defendant agrees that the forfeiture provisions of this plea

agreement are intended to, and wiU, survive him, notwithstanding the abatement of

any underlymg criminal conviction after the execution of this agreement. The


forfeitability of any particular property pursuant to this agreement shall be determmed


as if Defendant had survived, and that determination shaU. be bmding upon


Defendant's heirs, successors and assigns until the agreed forfeiture, including any


agreed money judgment amount, is collected in full.

W. STEPHEN MULDROW
United States Attorney



/^L^r -r^^^^^^-
Alberto R. Lopez Rocafort
Assistant U.S. Attorney                               Counsel for Defendant
Chief, Gang Section                                   Dated: <^^<-( ->-\
Dated: ^/^.y/^^Z




   I-lvii^
  T"                                                   ^ Vv-> J'j-^t^^ y ^^
Joseph Russell                                        i[os^ Garcia-Lopez
Assistant U.S. Attorney                               l3d
Gang Section                                          Dated: _^^i^r_
Dated:_          .i^^ <.   1^1^




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                        UNDERSTANDING OF RIGHTS
      I have consulted with counsel and fully understand all of my rights as to the


charges pending against me. Further, I have consulted with my attorney and fully

understand my rights as to the provisions of the Guidelines that may apply in my case.


I have read this Plea Agreement and carefully reviewed every part of it with my


attorney. My counsel has translated the Plea Agreement to me in the Spanish


language and I have no doubts as to the contents of the agreement. I fuUy understand


this agreement and voluntarily agree to it. ^ V\ ^ _ \ /

Date: t?C ~r~7
          7 -^^    vV^' U^^ .J^IC\^ICA ^ ^C <^
               —'' —T^B—\—— ~ — • ^ ^ —~—- ~ — — ^
                                              J'Qsb, Garcia-Lopez
                                              Defendant

      I am the attorney for Defendant. I have fully explained Defendant's rights to


Defendant with respect to the pending charges. Further, I have reviewed the applicable


provisions of the Guidelines and I have fully explained to Defendant the provisions of

those Guidelines that may apply in this case. I have carefully reviewed every part of


this Plea Agreement with Defendant. I have translated the Plea Agreement and


explained it in the Spanish language to the Defendant who has expressed having no


doubts as to the contents of the agreement. To my knowledge, Defendant is entering


into this Plea Agreement voluntarily, intelligently, and with full knowledge of all

consequences of Defendant's plea of guilty.


      Date: ^-y -^-^
                                              Lind^TGrorge
                                              Cour^Sei^ei-Ddfend'Snt~

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                                    STIPULATION OF FACTS
             In conjunction with the submission of the accompanying Plea Agreement in


      this case, the Defendant, [5] JOSE L. GARCIA-LOPEZ, A/K/A "LOS

       GEMELOS)) admits that Defendant is guilty as charged in the Indictment and admits

      the following:

             From in or about the year 2006, and continuing up to and until the return of the


       instant Indictment, in the Municipality of San Juan, District of Puerto Rico and within

      the jurisdiction of this Court, [5] JOSE L. GARCIA-LOPEZ, A/K/A "LOS
                                /,.-^-

\ r •' GEMELOS" and othe^iiiw4iilyjj_^rii^©S@, did knowingly and intentionally,
.'^                 '       '"

\ combine, conspire, and agree with each other and with diverse other persons known


       and unknown, to commit an offense agamst the United States, that is, to knowingly


       and intentionally possess with intent to distribute and/or to distribute controlled

       substances, to wit: in excess of two hundred and eighty (280) grams of a mixture or


       substance containing a detectable amount of cocaine base (crack), a Schedule II


       Narcotic Drug Controlled Substance; in excess of one (1) kilogram of a nuxture or


       substance containing a detectable amount of heroin, a Schedule I, Narcotic Drug

       Controlled Substance; in excess of five (5) kilograms of a mbcture or substance


       containing a detectable amount of cocaine, a Schedule II, Narcotic Drug ControUed


       Substance; in excess of one hundred (100) kilograms of a nuxture or substance


       containing a detectable amount of marijuana, a Schedule I, Controlled Substance; a


       mixture or substance containmg a detectable amount of Oxycodone (commonly

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           known as Percocet), a Schedule II Controlled Substance; and a mbrture or substance


           contammg a detectable amount of Alprazolam (commonly known as Xanax), a


           Schedule IV Controlled Substance; within one thousand (1,000) feet of a real property

           comprising the Villa Kennedy Public Housing Project, Las Casas Public Housing

           Project, El Mirador Public Housing Project, Las Margaritas Public Housing Project,

           housing facilities owned by a public housmg authority and withm one thousand

           (1,000) feet of a real property comprising a public or private school and/or playground.


           All in violation of Title 21, United States Code Sections 841(a)(l), 846 and 860.

                 The object of the conspu'acy was to distribute controlled substances within one


           thousand (1,000) feet of housing facilities owned by a public housing authority in San

           Juan Puerto Rico, that is, the Villa Kennedy Public Housing Project, Las Casas Public
      ^'




^
           Housing Project, El Mirador Public Housing Project, Las Margaritas Public Housing
•\^

           Project, and in other areas in San Juan Puerto Rico within one thousand (1,000) feet


           of a real property comprismg a public or private school and/or playground all for


           significant fmancial gain and profit.


                 Defendant [5] JOSE L. GARCIA-LOPEZ, A/K/A "LOS GEMELOS"
                              lk^\^
           acted as a leader<8^^^^^. As a leader, he maintained control over many aspects

           of the drug trafficking operations. As the leader, he would give orders regarding the


           distribution of the narcotics and the enforcing of rules.




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      While multiple kilograms of heroin, cocaine, cocaine base and marijuana were

distributed during the conspiracy, for purposes of this plea agreement the defendant


acknowledges that durmg the span of the conspiracy he possessed with intent to


distribute at least 2 kilograms but no more than 3.5 kilograms of cocaine. Defendant


also admits that, during the course of the conspiracy, he possessed at least one firearm


in furtherance of the drug trafficking carried out by the organization.


      At trial, the United States would have proven beyond a reasonable doubt that


defendant [5] JOSE L. GARCIA-LOPEZ, A/K/A "LOS GEMELOS" is guUty as

charged in COUNT ONE and COUNT SIX of the Indictment by presenting physical

and documentary evidence, photographs, audio and video recordings, testimony of a

forensic chemist as an expert witness, cooperating witnesses, as well as the testimony

of law enforcement agents among others.

       Discovery was timely made available to Defendant for review.




 I M.M
Joseph Russell                                         .ir^da George-
Assistant U.S. Attorney                                Cdun^eGo^^ndant
Dated: ^ ^'^ ^c?^                                     Dateyr-




                                                      Jose'<jarcia-Lopez
                                                      Defendant
                                                      Dated:




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